       Case 1:19-mj-03419-JJO Document 4 Entered on FLSD Docket 09/12/2019 Page 1 of 1
                                        CO U RT M IN UTES                                            Page4
                                 M agistrate Judge Edw in G .Torres
                       KingBuildingCourtroom 10-5                        Date:9/11/19      Time:,10:00a.m.
Defendant:Abdul M aroufAhm ed Alani J#:18349-104 Case #:19-3419-O'SulIivan
AUSA:M aria M editis                                 Attorney: AFPD = Anthony Natale
Violation: DestroyingAircraft/lurisdictionofThe U.S.
Proceeding: Ptd                                              CJA Appt:
Bond/PTD Held:C Yes C No             Recommended Bond:Ptd
Bond Setat:                                                  Co-signed by:
 RV Surrenderand/ordonotobtainpassports/traveldocs                  Language:Arabic
     ReporttoPTSas directed/or       x'saweek/month by              Disposition:
     phone:      x?saweek/monthinperson                              pre/Arraign9/20/19 10 am    .



 Ns Random urinetestingbyPre'
                            trialServices                            Defensewantsacontinuance,The
     Treatm entasdeem ed necessary                                   CourtsetsSTIPULATED Pretrial
 Nr Refrainfrom excessiveuseofalcohol                                aetention, withthe rightto revisit(NO
 !- Participateinmentalhealthassessment& treatment
           ,                                                         H EARI
                                                                          NG yjEgnl
 1- Maintainorseekfull-timeemployment/education
 NV Nocontactwithvictims/witnesses
 f'
  - No firearm s
 Nr Nottoencumberproperty
 F- M ay notvisittransportation establishm ents

 I-
  r--l HomeConfinement/ElectronicMonitoringand/or                                                    .
     Curfew              pm to         am ,paid by
     Allow ances:M edicalneeds,courtappearances,attorney visits,
     religious,em ploym ent
 Nr Travelextendedto:                                                   '             .
 Nr other:                                                            fromSpeedyTrialclock
NEXT COURT APPEARANCE Date:              Tim e;            Judge:                       Place:
ReportRE Counsel:
PTD Heuring:       9/18/19               10:00            M iamiDuty
Prelim/ArraignorRemoval:
StatusConference RE:
D.A.R. 10:14:47                                                     Tim e in Court:4
